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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

                                    )
BENNIE G. THOMPSON, et al.,         )
                                    )
                Plaintiffs,         )
                                    ) Civil Case No. 1:21-cv-00400 APM
  v.                                )
                                    )
DONALD J. TRUMP, et al.,            )
                                    )
                Defendants.         )
                                    )

             REPLY IN SUPPORT OF PRESIDENT TRUMP’S
                       MOTION TO DISMISS

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        President Trump was carrying out the discretionary functions of his office and

his constitutional mandate to take care that the laws are faithfully executed. He was

also wielding the power of the bully pulpit, vested solely in the President of the United

States to lobby for congressional action. Despite the obvious fact that President

Trump was speaking on a political matter, firmly within his prerogative to address

the Nation and Congress on such matters, Plaintiffs argue President Trump is

entitled to neither absolute immunity nor First Amendment protections. Plaintiffs

argue their own statements are entitled to First Amendment protection, but not

President Trump’s. Such “liberty for me, but not for thee” hypocrisies are beyond the

pale.

        This Court should not be fooled by the political and personal animosity of

Plaintiffs and their amici. The rule of law requires all people be treated equally in the

eyes of the law. There can be no exception to these stalwart constitutional protections

merely because Plaintiffs do not want to extend these protections to their political

nemesis. The Plaintiffs’ Amended Complaint should be dismissed with prejudice.


   I.      The Constitution Forecloses Plaintiffs’ Claims.

   a.      President Trump is Absolutely Immune.

   1.      The Court should reject Plaintiffs’ invitation to make content-based value
           determinations on a Presidential address in making its “outer perimeter”
           determinations as to immunity.

        Plaintiffs and their amici wish to constrict the absolute immunity of the

presidency by allowing courts to make content-based value determinations on

presidential activities and the motives behind them. That focus on motive rather than

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the nature of the presidential act at issue has been squarely rejected by the Supreme

Court. Nixon v. Fitzgerald, 457 U.S. 731, 756 (1982) (“[A]n inquiry into the

President’s motives could not be avoided under the kind of “functional” theory

asserted both by respondent and the dissent. Inquiries of this kind could be highly

intrusive.”)

      Plaintiffs largely regurgitate many of the same arguments made by the Nixon

v. Fitzgerald respondents, who claimed that President Nixon lacked a legitimate

presidential purpose for dismissing a federal employee in violation of federal law. Id.,

457 U.S. at 756–57. But the Court rejected that argument, just as should this Court.

Indeed, such a “construction would subject the President to trial on virtually every

allegation that an action was unlawful or was taken for a forbidden purpose. Adoption

of this construction thus would deprive absolute immunity of its intended effect.” Id.

at 757.

      President Donald J. Trump (“President Trump”) spoke on January 6 to address

forthcoming congressional action. It is of no moment as to whether he was directly

involved in that action or whether Plaintiffs, or even this Court, agreed with

arguments made in that Presidential address. It is enough that the nature of the

activity, a speech by the President, is the type of activity normal and customary to

the presidency. Indeed, it was not at the outer perimeter of the President’s duties—

it was dead center.




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   2.      President Trump was exercising a specific constitutional duty to take care
           that the laws be faithfully executed.

        A president need not point to a specific constitutional duty to show that the

activities at issue are absolutely immune from suit. Nevertheless, Plaintiffs’

pleadings show that President Trump was executing his duties under the

Constitution to “take Care that the Laws be faithfully executed.” U.S. Const. Art. II,

§ 3. President Trump had an ever-present duty to ensure that the election laws were

followed, including the certification process. The Framers specifically sought to

ensure that it was the President’s duty to execute the laws faithfully. Initially, the

Framers directed the President to “carry into execution” the laws; however, at the

Convention, the Framers replaced that language with giving the President an

affirmative duty to take care that those laws be faithfully executed. Andrew M.

Wright, The Take Care Clause, Justice Department Independence, and White House

Control, 121 WVLR 353, 385 (2018). As one scholar wrote, “enforcing election

laws . . . struck at the core of the executive branch’s duty to faithfully execute the

law.” Alton L. Lightsey, Constitutional Law: The Independent Counsel and the

Supreme Court’s Separation of Powers Jurisprudence, 40 UFLLR 563, 573 (1988).

Therefore, President Trump’s office included a duty to ensure compliance with

election laws in this Country.

        As the Supreme Court held, the take care clause “are sweeping words.” Myers

v. U.S., 272 U.S. 52, 122 (1926). It is the President’s duty to make sure the laws are

faithfully executed. Free Enterprise Fund v. Public Co. Accounting Oversight Bd.,




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561 U.S. 477, 493 (2010). Accordingly, President Trump had a broad range of

authority in ensuring that the laws are faithfully executed.

       President Trump’s efforts to question congressional action because of lapses in

election integrity was a discretionary act, not subject to second-guesses from the

judiciary. See Halperin v. Kissinger, 578 F. Supp. 231, 233 (D.D.C. 1984), aff’d in

part, remanded in part, 807 F.2d 180 (D.C. Cir. 1986) (“Judicial inquiries, however,

into possible motives for discretionary actions are ‘highly intrusive[]’ . . . and

disruptive of effective government. If this were permitted, the doctrine of absolute

immunity, which is based on the separation of powers, would lose its intended

effect.”).

       President Trump was speaking on a public issue in a public place on national

television. The rally on January 6 and all other statements made by President Trump

regarding the legality of changes to election laws and the validity of election results

constitute speech on matters of public concern. See Snyder v. Phelps, 562 U.S. 443,

453 (2011) (“Speech deals with matters of public concern when it can ‘be fairly

considered as relating to any matter of political, social, or other concern to the

community,’ . . . or when it ‘is a subject of legitimate news interest; that is, a subject

of general interest and of value and concern to the public.’”). What falls within this

category for the President can be quite broad; in one instance, a district court held

that the “[t]elevised publication of the President’s views on various topical items is

within the outer perimeter of his official duties.” Lynch v. President of the U.S., 2009




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WL 2949776, at * 1 (N.D. Tex. Sept. 14, 2009) (finding that the President had

immunity and dismissing Plaintiff’s case).


   3.      President Trump’s speech was in his official capacity.

        President Trump’s speech and social media posts complained of by Plaintiffs

are all on matters of public concern and were all made in his official capacity. Indeed,

courts have previously found that President Trump’s speech on his Twitter account

(@realDonaldTrump) is public speech in his official capacity. See Knight First Amend.

Inst. at Colum. Univ. v. Trump, 928 F.3d 226, 237 (2d Cir. 2019) (describing that

because President Trump “repeatedly used [@realDonaldTrump] as an official vehicle

for governance and made its interactive features accessible to the public without

limitation,” it “created a public forum.”). Therefore, Plaintiffs’ allegations which

include President Trump’s Twitter posts and publicly televised remarks, clearly

include speech within the outer perimeter of the Presidential office.

        Most notably, the speech came well after the election, not before. Thus, the

speech at and leading up to the Ellipse rally—the basis of Plaintiffs’ claims—is speech

that President Trump made solely in his official capacity as the President of the

United States. Indeed, the Federal Elections Commission has laid out a detailed

definition of electioneering (or what Plaintiffs refer to as campaign speech). The FEC

definition requires four things for a communication to be considered electioneering:

(1) it must be a broadcast, cable, or satellite communication; (2) it must refer to a

clearly identified candidate for federal office; (3) must be publicly distributed prior to

an election; and (4) must be targeted to the relevant electorate. See 11 C.F.R.

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§ 100.29. Accordingly, when President Trump made this speech, he was acting in his

official capacity as the President of the United States and not engaged in

electioneering. Further, as of November 5, 2020, “President Trump was no longer a

candidate for public office” hence he was not engaged in electioneering. Am. Fed’n of

Gov’t Emps. v. Off. of Special Couns., 1 F.4th 180, 187-88 (4th Cir. 2021).

      Plaintiffs argue there is no situation where the President may speak on

something in his official capacity when there is no explicit constitutional duty

involved. Aside from the obvious issue of the “take care” clause giving the executive

broad authority to speak officially, Plaintiffs’ argument is incredible. Presidents past,

present, and future will speak, and should speak, on numerous issues where they do

not have any textually identifiable constitutional duty. For instance, Presidents have

pushed against a veto override, 1 commented on expectations for Supreme Court

opinions, 2 supported Constitutional amendments, 3         and spoken against State




      1 See, e.g., Patricia Zengerle, Congress rejects Obama veto, Saudi September
11 bill becomes law, REUTERS (Sept. 28, 2016), https://www.reuters.com/article/us-
usa-sept11-saudi/congress-rejects-obama-veto-saudi-september-11-bill-becomes-law-
idUSKCN11Y2D1 (describing that President Obama called and wrote a letter to
Senate Minority Leader Harry Reid to explain his opposition to the bill, and Reid was
the only senator that sided against the veto override).
      2   Remarks by the President on the Supreme Court Decision on U.S. Versus
Texas (June 23, 2016, 11:53 AM), https://obamawhitehouse.archives.gov/the-press-
office/2016/06/23/remarks-president-supreme-court-decision-us-versus-texas
(commenting that the even split of justices was a consequence of partisan reluctance
to confirm a ninth justice and the President’s policies “can’t go forward at this stage,
until there is a ninth justice on the Court to break the tie.”).
        3 Miller Center, University of Virginia, Andrew Johnson: Message Proposing

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actions. 4 A President need not sift through the text of Article II as a precondition of

using his bully pulpit to support or oppose issues of public concern. Any assertion to

the contrary is an ill-considered and impractical limitation on presidential speech.

         Accordingly, when President Trump made this speech, he was acting in his

official capacity as the President of the United States and is thus protected by

absolute immunity.


   b.          President Trump’s political speech was protected by the First Amendment.

         President Trump’s speech must be considered in context, something Plaintiffs

are more than willing to acknowledge when the situation involves the speech of one

of their own. Pls.’ Resp. In Opp’n at 53, n. 24 (“Pls.’ Opp’n”). Plaintiffs argue – in a

footnote – Plaintiff Waters’ speech should be analyzed “[i]n context” as she tried to

excuse her reckless comments. Her protestations, however, simply show the danger

of the First Amendment exception that she and her co-Plaintiffs seek against

President Trump. If political opponents can cherry-pick comments made in political

speeches to justify tort liability based upon the actions of impassioned supporters,

then the well of litigation will spring eternal and the chilling effects on political

speech will be considerable.




         4   See, e.g., Gary Fineout, Biden tells DeSantis to ‘get out of the way’ amid Covid
surge,             (Aug.           3,            2021,             6:03            PM),
https://www.politico.com/states/florida/story/2021/08/03/desantis-blames-media-for-
hysteria-over-covid-surge-1389404 (quoting President Biden, saying if the state
governors are “not going to help, get out of the way of the people that are trying to do
the right thing.”).
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      Indeed, for years it has been Democratic politicians, including several of the

Plaintiffs, that have encouraged, supported, and provoked left-wing extremists and

rioters, including avowed Marxists. The proof is in the pudding: 5




      Plaintiffs’ astounding hypocrisy also highlights their misunderstanding of the

incitement doctrine. Liability for speech does not turn on whether violence was

successfully incited; it depends upon whether the speech was directed to incite and

created a likelihood of imminent lawless action. See Brandenburg v. Ohio, 395 U.S.

444, 447 (1969). President Trump did nothing of the sort when commenting that

supporters could peacefully and patriotically make their voices heard. Nothing that

Plaintiffs have or could plead even approaches the Brandenburg test of imminence.




      5   See entire video at: https://www.youtube.com/watch?v=gcVlsq2x79g.


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   1.      Plaintiffs’ incredible allegations of a conspiracy cannot preclude First
           Amendment protections.

        Plaintiffs argue that President Trump is not entitled to First Amendment

protections because of the supposed conspiracy theory explained in their Amended

Complaint. Yet, the actions they allege against President Trump universally are

comprised of political speech, often made to political supporters. Political speech is

never made in a vacuum; to be effective it must be made while engaging with others.

For the Court to find that President Trump’s speech here was unprotected under a

theory of conspiracy liability, would be to create an exception that would swallow-

whole the uniquely American protections for political discourse found in the First

Amendment.


   2.      Plaintiffs take President Trump’s words out of context.

        Plaintiffs’ claim President Trump spoke “directly” to the Proud Boys is an

example of a misleading, and patently false, allegation. Pls.’ Opp’n at 3. As Plaintiffs

paint the story, President Trump answered a question during a nationally televised

presidential debate, directing the Proud Boys to “stand back and stand by.” Id. The

full context of the question and answer shows a different story.

        Chris Wallace: [A]re you willing tonight to condemn white supremacists and

        militia groups and to say that they need to stand down . . . [?]

        ...

        President Trump: I’m willing to do anything. I want to see peace.

        Chris Wallace: Well, then do it, Sir.

        Vice President Biden: Say it. Do it. Say it.
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       President Trump: You want to call them . . . what do you want to call them?

       Give me a name, give me a name. Go ahead. Who would you like me to

       condemn?

       Chris Wallace: White supremacist and right-wing militia.

       Vice President Biden: The Proud Boys.

       President Trump: Proud Boys, stand back and stand by. But I’ll tell you what

       somebody’s got to do something about Antifa . . .   6


       It was then-Vice President Biden who suggested President Trump address the

Proud Boys, and the context for his off-the-cuff comment for whom they should stand

by to deal with was not the federal government, but rather antifa vigilantes and

rioters.

       Plaintiffs even go so far as to suggest that a social media post from a supposed

Proud Boy leader shows conspiracy simply by its public response to President Trump

after the debate. The First Amendment is not so fragile as to be defeated by social

media posts from debate viewers. Further, the different conspiracies that Plaintiffs

allege all relate to the results of the November 2020 elections, which were unknown

at the time that this Presidential debate took place.




       6   Read the full transcript from the first presidential debate between Joe Biden
and        Donald    Trump,       USA     TODAY       (Oct.   4,    2020,    7:44   PM)
https://www.usatoday.com/story/news/politics/elections/2020/09/30/presidential-
debate-read-full-transcript-first-debate/3587462001/.
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      Given the numerous protests over the years on Capitol Hill 7 and the necessity

of protecting political speech – the very type of speech the First Amendment was

designed to protect – a holding that individuals can be liable for violence by random

listeners if their words could be interpreted as a threat would nearly shut down

Washington.

      For example, Senate Majority Leader Schumer directed statements at

Supreme Court Justices Gorsuch and Kavanaugh, saying “[y]ou have released the

whirlwind, and you will pay the price” and “[y]ou won’t know what hit you if you go

forward with these awful decisions.” 8 While his words were undoubtedly




      7 See Kalhan Rosenblatt, Protestors pound the doors of the Supreme Court
following   Kavanaugh    confirmation,     NBC    NEWS       (Oct.  6,   2018),
https://www.nbcnews.com/politics/supreme-court/protests-build-capitol-hill-ahead-
brett-kavanaugh-vote-n917351 (“[P]rotestors pushed past a police line, storming up
steps to pound on the doors of the U.S. Supreme Court on Saturday after the Senate
confirmation of Brett Kavanaugh.”); Cheyenne Haslett, Dreamers protest on Capitol
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https://abcnews.go.com/Politics/dreamers-protest-capitol-hill-daca-deadline-
day/story?id=53539262 (describing the DACA protests in which protestors arrived at
the Capitol and Senate office buildings to demand Congress pass legislation to renew
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the people whose DACA expires soon.”); Susan Cornwell, U.S. lawmaker spends night
outside Capitol to protest return of evictions, REUTERS (July 31, 2021, 5:58 PM),
https://www.reuters.com/world/us/us-lawmaker-spends-night-outside-capitol-
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outside the Capitol all night to emphasize demand to extend the moratorium on
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(describing a particularly large protest by the “Occupy” movement that involved
entering Congressional buildings to make demands).
       8 Video available: https://youtu.be/rs1f7JhCxoQ; Schumer Threatens the

Court, WSJ (Mar. 4, 2020, 7:34 PM), https://www.wsj.com/articles/schumer-
threatens-the-court-11583368462.
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irresponsible, they were not actionable, and would not have been even if any actual

harm befell the Justices from those who claimed they were inspired by Schumer’s

words. If every individual had to police her speech to ensure it could never be

perceived as a threat in light of later events, nearly all political discussion would be

off the table.

       James Hodgkinson’s June 2017 shooting of Rep. Steve Scalise, Capitol Police

Officer Crystal Griner, and others is also illustrative. Hodgkinson was a supporter of

Sen. Bernie Sanders. Shortly before the shooting, Sanders passionately addressed his

supporters, saying that “today in the White House we have perhaps the worst and

most dangerous President in the history of our country. And we also have, not to be

forgotten, extreme right-wing leadership in the U.S. House and the U.S. Senate.” 9




      Video available: https://youtu.be/7-nR_5UBIPU; Yamiche Alcindor, Attack
       9

Tests Movement Sanders Founded, New York Times, (June 14, 2017),
https://www.nytimes.com/2017/06/14/us/politics/bernie-sanders-supporters.html.
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      Yet Rep. Steve Scalise, one of the victims of the shooting, did not attempt to

cast aside the First Amendment to sue Sen. Sanders for his political rhetoric, almost

certainly because Congressman Scalise understands that while he may have

disagreed with Sen. Sanders’ rhetoric, he was not willing to sacrifice the ancient

protections of the First Amendment to hold the rival Senator accountable for that

rhetoric. Perhaps Rep. Scalise even remembered Sir Thomas Moore’s celebrated lines

from A Man for All Seasons: “[t]his country is planted thick with laws, from coast to

coast, Man’s laws, not God’s! And if you cut them down . . . do you really think you

could stand upright in the winds that would blow then?” 10




      10   ROBERT BOLT, A MAN FOR ALL SEASONS (1966).
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   3.      Plaintiffs mistakenly rely upon the effect upon the listeners to argue
           President Trump incited the violence at the Capitol.

        Plaintiffs’ insistence that the way others interpret one’s speech is somehow

enough to establish a conspiracy or incitement goes against well-established First

Amendment law. See Thomas v. Collins, 323 U.S. 516, 535 (1945) (rejecting liability

based on how others interpret one’s speech because that “would ‘pu[t] the

speaker . . . wholly at the mercy of the varied understanding of his hearers and

consequently of whatever inference may be drawn as to his intent and meaning”);

Morse v. Frederick, 551 U.S. 393, 442 (2007) (Stevens, J., dissenting) (describing that

liability based on others’ understanding would blur “the distinction between advocacy

and incitement.”). In any event, quoting President Trump’s language and leaving out

key phrases that indicate a desire for peaceful protest does not amount to factual

support for an allegation of conspiracy or incitement. Plaintiffs have cherry-picked

their allegations from thousands of tweets, speeches, rallies, and public statements

in order to create an out-of-context narrative. Taken in context, with the totality of

only President Trump’s actual language considered, Plaintiffs cannot plausibly state

a claim.

        Plaintiffs cannot, in fact, plausibly allege that President Trump expected,

desired, or incited violence. The bulk of their allegations consist of general

statements, interpreted by others to be calls to violence. This effect on others is not

what is relevant under the First Amendment. Rather, it is President Trump’s actual

words. His words that included passionate flourish and calls for peaceful and patriotic




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protest. Taken overall, and in context, Plaintiffs cannot plausibly allege that

President Trump sought to incite violence.


   4.       Plaintiffs are seeking a prior restraint.

         Plaintiffs and their amici, argue they are seeking to restrain unlawful

conspiracies and political intimidation. Those are, however, already prohibited by

law. What Plaintiffs are truly seeking is a mechanism to prevent speech before it

happens. Regardless of Plaintiffs’ attempt to argue they are seeking an adjudication

of whether the speech should be allowed, requiring such an adjudication before speech

is, in itself, an improper prior restraint on speech. Requiring President Trump to

litigate his right to speak on issues of public concern would directly hamper his First

Amendment right to free speech. It is, by definition, a prior restraint regardless of

whether a court would rule on whether the speech would subsequently be allowed.


   II.      Plaintiffs Lack Standing.

         Standing is a key determination that must be made before this Court has the

authority to proceed to consideration on the merits. Whether the Plaintiffs have the

right to sue in this instance is a threshold issue to determine this Court’s authority

to hear the merits of this case that must be determined on motion to dismiss.


   a.       Whether Plaintiffs claims are covered by the terms of the statute is a
            threshold matter properly considered in this Motion to Dismiss.

         Plaintiffs are bound by the allegations of their Amended Complaint. The

alleged facts in that complaint show that they lack standing to bring this action.



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Indeed, whether the lack of standing is based on constitutional or statutory grounds,

the end result is dismissal of the case.

        The standing requirements for a 42 U.S.C. § 1985 claim require at a minimum

two findings: (1) Plaintiffs were harmed, and (2) that harm was caused by either a

conspiracy to prevent any person by force, intimidation, or threat from holding any

office, trust, or place of confidence under the United States, or from executing the

duties thereof; or a conspiracy to force, intimidate, or threaten an officer of the United

States to leave any state, district, or place where his duties are required to be

performed.

        When discussing their statutory standing, Plaintiffs describe an elaborate

conspiracy plan. Regardless of how the alleged conspiracy is framed, none of the

formulations create a cause of action under the terms of § 1985 because Plaintiffs are

not federal officers. Even if they were federal officers, Plaintiffs have not sufficiently

alleged factual support for a conspiracy to prevent the certification of the election, let

alone a conspiracy to use violence to achieve that alleged goal. Id.


   b.      Plaintiffs are not covered by § 1985(1) because under controlling Supreme
           Court precedent, that statute only grants a cause of action based on injuries
           to federal officers.

        Plaintiffs cite a single case and an 1850s dictionary in support of their

argument that Congressional members are either federal officers or hold an office,

trust, or place of confidence under the United States. See Pls.’ Opp’n at 21 (citing

Griffin v. Breckenridge, 403 U.S. 88, 97 (1971)). That case solely stands for the

proposition that reconstruction statues should be accorded a broad sweep. They do

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not cite any statute, act, regulation, policy statement, or even statement that

indicates that members of Congress officers hold such a station.

      Plaintiffs have broadly alleged that they are both the harmed party and such

persons holding an office, trust, or place of confidence under the United States or

officers. Plaintiffs have not, however, plausibly alleged that they are officers of the

United States as required by 42 U.S.C. § 1985. In Griffin, the Supreme Court held

that Reconstruction Era statutes such as § 1985 should be accorded a sweep as broad

as their language. Griffin, 403 U.S. at 97.

      While it is generally true that remedial statutes are construed broadly,

Plaintiffs left out that the Court made this particular statement in the context of 42

U.S.C. § 1985(3) to address whether the prohibition of conspiracies to deny equal

protection applied to the actions of private individuals or solely the state. Id. at 97–

98. The Court ultimately held that § 1985(3) should be read broadly enough to

encompass the actions of private individuals, not just actions from the state in their

official capacity, and this intent is evidenced from the inclusion of legislative history

indicating that the act was meant to cover conspiracies by private individuals. Id. at

98, 101. Because § 1985(1) and § 1985(3) confer standing in different ways (and

involve pleading different elements), it is misleading to use Griffin, a case specifically

only involving the construction of § 1985(3), to argue that Plaintiffs have standing

under § 1985(1), which requires a particular type of threat against enumerated

parties. Reading § 1985(3) to cover deprivations of equal protection by private

individuals is not the same as reading § 1985(1) to include conspiracies against



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members of Congress who are, under binding Supreme Court precedent, not

considered federal officers.

      The Supreme Court has laid out five specific conspiracies that § 1985

proscribes, which are those that interfere with

      (a) the performance of official duties by federal officers; (b) the
      administration of justice in federal courts; (c) the administration of
      justice in state courts; (d) the private enjoyment of ‘equal protection of
      the laws’ and ‘equal privileges and immunities under the laws’; and (e)
      the right to support candidates in federal elections.

Kush v. Rutledge, 460 U.S. 719, 724 (1983). The Court further explained that as

currently codified, § 1985(1) applied to (a), § 1985(2) applied to (b) and (c), and

§ 1985(3) applied to (d) and (e). Id. With this binding Supreme Court precedent, it is

understandable that many courts, including the Third Circuit, merge the phrase

“office, trust, or place of confidence under the United States” in § 1985(1) to mean

that the person interfered with must be a federal officer. Miller v. Indiana Hosp., 562

F. Supp. 1259, 1281 (3d Cir. 1983). The Third Circuit went as far as to say “subsection

[§ 1985(1)] only protects federal officers.” Id. The Ninth Circuit also held that

§ 1985(1) applies exclusively to federal officers. Canlis v. San Joaquin Sheriff's Posse

Comitatus, 641 F.2d 711, 717-18 (9th Cir. 1981).

      Other district courts have also come to the same conclusion. The District of

New Jersey found that to bring a claim under § 1985(1), a plaintiff must show that

they are a federal officer. Lobosco v. Falsetti, No. 09–01455, 2010 WL 4366209, at *

3 (D.N.J. Oct. 28, 2010). In Lobosco, the court dismissed the plaintiff’s claims under

§ 1985(1) as a matter of law because the plaintiff failed to plead sufficient facts to


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show that he was a federal officer. Id. See also Diulus v. Churchill Valley Country

Club, 601 F. Supp 677, 681 (W.D. Pa. 1985) (dismissing a § 1985(1) claim because the

complaint did not indicate any action of a federal officer).

         According to the foregoing precedent from the Supreme Court, circuit courts,

and district courts, the phrase, “office, trust, or place of confidence under the United

States” in § 1985(1) is all merged to mean federal officer. The scope of an officer of the

United States is very clear. “Unless a person in the service of the government,

therefore, holds his place by virtue of an appointment by the president, or of one of

the courts of justice or heads of departments authorized by law to make such an

appointment, he is not, strictly speaking, an officer of the United States.” United

States v. Mouat, 124 U.S. 303, 307 (1888). Additionally, the Supreme Court explained

in 2010, “[t]he people do not vote for the ‘Officers of the United States.’ Art. II, § 2,

cl. 2.   They    instead   look   to   the   President   to   guide   the   ‘assistants   or

deputies . . . subject to his superintendence.”’ Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 497-98 (2010). Accordingly, members of

Congress are not federal officers, nor do they hold an office, trust, or place of

confidence under the United States for purposes of 42 U.S.C. § 1985(1).

         Plaintiffs’ claims do not fall within § 1985(1); it is also clear that their claims

do not fall within either of the other two sections in § 1985, as § 1985(2) deals with

the obstruction of the justice and § 1985(3) deals with depriving individuals of equal

protection of the laws. Plaintiffs cite to an 1850s dictionary that says that members

of Congress are “public officers,” yet this definition does not say that they are federal



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officers, as § 1985(1) requires. Additionally, Plaintiffs pull quotes from the 1871

legislative hearings. Notably, Plaintiffs disregard the Supreme Court’s interpretation

of § 1985(1), which comes to the opposite conclusion as Plaintiffs’ pieced-together,

faulty interpretation.

      Plaintiffs cite three additional cases illustrating, in their opinion, why they

have standing under § 1985(1). First, in Lewis, the Western District of Missouri held

that a state court judge had standing under § 1985(1). Lewis v. News-Press & Gazette

Co., 782 F. Supp. 1338 (W.D. Mo. 1992). Second, in Stern, the Seventh Circuit held

that an IRS agent had standing under § 1985(1). Stern v. U.S. Gypsum, Inc., 547 F.2d

1329 (7th Cir. 1977). Third, in Windsor, the Sixth Circuit held that a United States

Attorney had standing under § 1985(1). Windsor v. Tennessean, 719 F.2d 155 (6th

Cir. 1983). Not surprisingly, Plaintiffs failed to cite a single case where a member of

Congress had standing under § 1985(1). This is because members of Congress do not

have standing under § 1985(1).


   III.     Plaintiffs Fail to State a Claim Upon Which Relief May be Granted.

      As outlined above, Plaintiffs are not federal officers and therefore do not fall

within the purview of 42 U.S.C. § 1985(1). Therefore, in addition to not having

standing, Plaintiffs have failed to state a claim upon which relief may be granted as

to that claim.




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   a.      Plaintiffs Do Not Adequately Allege All Elements for a Conspiracy Claim
           as There are Not Enough Factually Supported Claims for the Court to
           Plausibly Find President Trump Had Knowledge or Intent.

   1.      Plaintiffs’ allegations of an agreement by President Trump lack any
           plausible factual support.

        Plaintiffs characterize President Trump’s organizing of a “wild” protest at the

Ellipse where he encouraged citizens to assemble and petition the government – two

of the most central elements of our First Amendment protected freedoms – as

conspiring to help the violent protestors at the Capitol by sending “an angry mob” to

their location. Pls.’ Opp’n at 12. They also allege President Trump “directly enlisted

the help of the Proud Boys,” yet at no point do they allege a factual basis for

concluding there was direct communication between President Trump and the Proud

Boys or others who may have orchestrated the violence on January 6. Plaintiffs

describe that it is possible to infer conspiratorial agreement from an “invitation,

followed by responsive assurances and conduct,” but the case cited for that

proposition is an out-of-district antitrust case involving price-fixing for which there

is strict liability for achieving the end-goal regardless of how it was accomplished.

Pls.’ Opp’n at 34–35 (citing In re TFT-LCD (Flat Panel) Antitrust Litig., 586 F. Supp.

2d 1109, 1118 (N.D. Cal. 2008)). That is a starkly different situation from this case,

involving political activities and speech. To adequately allege a conspiracy to engage

in illegal action, it is insufficient to allege that the Defendant shares an end-goal with

the individuals who engaged in violence, especially when the end-goal can be legally

accomplished. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 554 (2007)

(explaining that even in the antitrust context where there is strict liability for the

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illegal end-goal, a “conspiracy must include evidence tending to exclude the

possibility of independent [legal] action”).

       Plaintiffs cite Jin v. Ministry of State Sec., 335 F. Supp. 2d 72, 81-82 (D.D.C.

2004) to support their rule that an inference of agreement only requires they establish

two or more persons “share a commitment to a ‘general objective or common plan.’”

Pls.’ Opp’n at 32. But that case explained that when the plaintiff relies on indirect

evidence, proof of “relationships between the actors and between the actions (e.g., the

proximity in time and place of the acts, and the duration of the actors’ joint activity)

are relevant in inferring an agreement.” Jin, 335 F. Supp. 2d at 82 (finding the

pleadings sufficient because the plaintiff alleged the defendant had a personal

reception with an alleged co-conspirator, which would have been documented). In the

present case, Plaintiffs do not sufficiently allege there were relationships between the

actors.

       Plaintiffs cite Hobson v. Wilson to establish the parties need not be aware of

the exact limits of the illegal plan, but conveniently end the quote before the relevant

standard of proof is described, which requires Plaintiffs must show “there was ‘a

single plan, the essential nature and general scope of which [were] known to each

person who is to be held responsible for its consequences.’” 737 F.2d 1, 51-52 (D.C.

Cir. 1984) (quoting Hampton v. Hanrahan, 600 F.2d 600, 620-21 (7th Cir. 1979)

(emphasis added). Plaintiffs also use a carefully selected a quote saying “dark

hyperbole” can sustain an allegation of a plan for violence in light of later events. Pls.’

Opp’n at 37. But the case cited as support for that assertion, Sines v. Kessler, 324 F.



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Supp. 3d 765, 788 (W.D. Va. 2018), involved individuals wearing shirts expressing

violent intentions (e.g., text saying “killer” over an image of decapitated bodies).

Political speech hardly qualifies as dark hyperbole when compared against the

example drawn from another out-of-district case. Indeed, Plaintiffs also quote

Halberstam v. Welch to support their claim that the present case is an “easy

situation” in which to draw an inference of conspiracy. Pls.’ Opp’n at 38. The full

sentence from that case, however, reads, “[t]he easiest situation in which to draw an

inference of agreement is where the parties are on the scene together at the same

time performing acts in support of one another. . . . The performance of different acts

at different times in different places . . . requires a more extensive set of inferences

to link the actors together.” Halberstam v. Welch, 705 F.2d 472, 481 (D.C. Cir. 1983).


   2.      Plaintiffs’ allegations do not plausibly allege President Trump had
           knowledge of the general scope of plans of those who engaged in violence at
           the Capitol.

        Individuals   misinterpreting   President    Trump’s    language    to   assume

participation in a conspiracy does not make him liable for their unrelated and

unfortunate actions. When citing United States v. Childress, 746 F. Supp. 1122, 1130

(D.D.C. 1990), to support their contention that a Defendant can be liable for

encouraging conspirators if he has an “understanding of the unlawful character of the

conspiracy,” Plaintiffs are quoting the lower court’s jury instructions under debate in

the opinion. Pls.’ Opp’n at 38. Plaintiffs also leave out the rest of the sentence, which

says the individual must also “knowingly, encourage[], advise[] or assist[] in

furthering the purpose of the conspiracy,” which in that context was a conspiracy to

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distribute illegal narcotics—something with no possibility for a legal explanation.

Childress, 746 F. Supp. at 1130. Even if understanding and encouragement were the

standard for a § 1985(1) conspiracy, Plaintiffs have not adequately alleged President

Trump understood the unlawful character of the alleged conspiracy at the time of the

speech. Plaintiffs seek to use hindsight bias to show the language appears to be

encouraging the alleged conspirators to suggest President Trump’s subjective

mindset at the time of the speech. This entire line of reasoning is logically flawed at

best.

        While an inference of a conspiracy can be drawn from knowledge of the actual

plan, there is no factually based allegation that President Trump was aware of a real

plan of violent action rather than just the typical militaristic, hyperbolic language of

people posting on the internet about their political beliefs and activities. Pls.’ Opp’n

at 12. The findings in the Homeland Security and Government Affairs (“HSGA”) staff

report investigating the events of January 6 show that even the FBI and Department

of Homeland Security did not find the websites and alleged threats referenced by

Plaintiffs to be credible. Id.; HSGA Staff Report at 5. 11

        If offices dedicated to assessing threats to the homeland and keeping the

President aware of those threats did not find the postings credible, Plaintiffs’

allegation that President Trump and his aides were monitoring those postings are

beyond incredible. Importantly, it would set an impossible burden on future



11Staff of S. Comm. on Homeland Sec. & Gov’t Affs., 117th Cong. Rep. on
Examining The U.S. Capitol Attack: A Review of the Security, Planning, And
Response Failures on January 6, (Jun. 7, 2021).
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defendants who face allegations of conspiracy if the court holds negative findings by

an intelligence agency tasked with tracking the possibility of domestic terrorism

threats is insufficient to refute knowledge of a conspiracy. Further, the Plaintiff has

the burden to affirmatively allege knowledge, and the existence of the HSGA report

shows this allegation is not credible. The HSGA report goes even further to show

President Trump was concerned about the security of the January 6 meeting. HSGA

Report at 77 (describing that President Trump made a point to ask the Acting

Secretary of Defense, in a meeting on an unrelated issue, “whether they were

prepared” and the President “concurred in the activation of DCNG to support law

enforcement”). This interaction, contained in an official report written after President

Trump left office, severely cuts against Plaintiffs’ notions of conspiracy.

      Finally, Plaintiffs alleged communications, except for one, are based entirely

upon public speech aimed at millions of Americans, some during an election cycle,

and the rest on political issues within the President’s purview to comment on topical

issues. The single other alleged communication comes from an unconfirmed leak from

a governmental agency, alleging that someone within the White House complex had

a phone call with someone from the Proud Boys. This is entirely insufficient to show

that President Trump had communication with the Proud Boys or that the person

that made the call was doing so on President Trump’s behalf or even that there was

an illegitimate purpose for the call. The White House has numerous calls in and out

per day to a huge variety of individuals and organizations. For Plaintiffs to blindly




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assume that because someone associated with the Proud Boys was on a call log

indicates a conspiracy is incredible on its face.

      Plaintiffs’ entire argument falls into the logical fallacy of post hoc ergo propter

hoc. Plaintiffs allege that because the rally was scheduled on the day of January 6

and that there was a violent protest at the Capitol on that day following that rally, it

must have been caused by that rally. This is simply flawed logical reasoning as these

events are unrelated.


                                        CONCLUSION


      For the foregoing reasons, President Trump’s motion to dismiss should be

granted. This matter should be dismissed, with prejudice.


      Dated: August 16, 2021                          Respectfully submitted,



                                                      /s/ Jesse R. Binnall
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                             CERTIFICATE OF SERVICE


      I certify that on August 16, 2021, a copy of the foregoing was filed with the

Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

counsel of record.



Dated: August 16, 2021                                         /s/ Jesse R. Binnall
                                                               Jesse R. Binnall




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